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                            3:22-cv-1028-KAD


                  IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF CONNECTICUT



                  IN RE: HO WAN KWOK, ET AL., DEBTORS


                       HO WAN KWOK, APPELLANT,

                                    v.

             LUC A. DESPINS, CHAPTER 11 TRUSTEE, APPELLEE.


ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
                            CONNECTICUT

                   Bankruptcy Case No. 22-50073-JAM


                          BRIEF FOR APPELLEE
                  LUC A. DESPINS, CHAPTER 11 TRUSTEE



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      Appellee Luc A. Despins, in his capacity as the chapter 11 trustee (the

“Trustee”) appointed in the chapter 11 case (the “Chapter 11 Case”) of Ho Wan

Kwok (the “Debtor”) respectfully submits this brief in response to the opening

brief submitted by the Debtor [ECF No. 19] (the “Opening Brief”), seeking

reversal of the order (the “Governance Order”) of the United States Bankruptcy

Court, District of Connecticut (Manning, J.) (the “Bankruptcy Court”) confirming

that the Trustee holds all of the Debtor’s economic and corporate governance

rights in debtor-controlled entities, but seeking reversal solely of paragraph 3(b)

and Exhibit B of the Governance Order directing the Debtor to deliver the Harcus

Parker Letter (as defined below) to the law firm of Harcus Parker Limited (such

relief the “Turnover Relief”).

             COUNTER STATEMENT OF ISSUES PRESENTED

      Did the Bankruptcy Court commit a reversible error when it granted the

Turnover Relief?

                            STANDARD OF REVIEW

      The applicable standard of appellate review is abuse of discretion. See In re

Sterling, 737 F. App’x 52, 53 (2d Cir. 2018) (“Discretionary rulings of a

bankruptcy court are reviewed for abuse of discretion.”); In re Dana Corp., 574

F.3d 129, 145 (2d Cir. 2009) (“An abuse of discretion may consist of an error of

law or a clearly erroneous finding of fact, or a decision that, though not necessarily


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the product of a legal error or a clearly erroneous factual finding, cannot be located

within the range of permissible decisions.”) (internal citations and quotations

omitted); In re Sims, 534 F.3d 117, 131–32 (2d Cir. 2008) (“a district court’s

finding that a party has waived a privilege is reviewed under the abuse-of-

discretion standard”) (citing In re von Bulow, 828 F.2d 94, 101 (2d Cir. 1987)).

                             STATEMENT OF THE CASE

I.      Case Background
        Prior to the filing of the Chapter 11 Case, the Debtor was embroiled in years

of civil litigation commenced by Pacific Alliance Asia Opportunity Fund L.P.

(“PAX”) in the New York Supreme Court (the “State Court”), which litigation re-

sulted in (i) a judgment against the Debtor in excess of $116 million on February 3,

20211 and (ii) the State Court issuing an order dated February 8, 2022 (the “Con-

tempt Decision”) holding the Debtor in contempt for violating court orders and im-

posing a fine in the amount of $134 million.2 As the presiding State Court judge,

Justice Ostrager, explained in the Contempt Decision, the Debtor “is a self-de-

clared multi-billionaire” who “secreted his assets in a maze of corporate entities

and with family members” attempting to “avoid and deceive his creditors” in a



1
     The Debtor has appealed that judgment.
2
     See Debtor’s App. (defined below) A-177, 186, Decision & Order on Motion, Pacific Alli-
     ance Asia Opportunity Fund L.P. v. Ho Wan Kwok, Index No. 652077/2017 (N.Y. Sup. Ct.,
     Feb. 9, 2022) NYSCEF Doc. No. 1181.

                                               2
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scheme that “has enabled [the Debtor] to assert that he has no assets despite his

lavish lifestyle.”3 This is evidenced by, among other things, (i) the Debtor’s “do-

minion and control”4 over a 150-foot yacht, the Lady May, that he claims is owned

by a company owned by his daughter, (ii) the Debtor’s multi-million dollar resi-

dence in Greenwich, Connecticut, which residence Debtor alleges is owned by a

company owned by his wife, and (iii) a penthouse apartment at the Sherry-Nether-

land Hotel on Fifth Avenue in Manhattan, New York, to which Debtor has access,

but which he claims is held in trust for the benefit of a company owned by his son.

There are several other assets connected to the Debtor that are the subject of the

Trustee’s ongoing investigation.

       Shortly after the issuance of the Contempt Decision, on February 15, 2022,

the Debtor filed a voluntary petition under chapter 11 of title 11 of the United

States Bankruptcy Code (the “Bankruptcy Code”) in the Bankruptcy Court.

       On March 19, 2022, the United States Trustee moved for an order directing

the appointment of an examiner or, in the alternative, a chapter 11 trustee. Appen-

dix of Appellee (the “Trustee’s App.”) A-0001 (Bankr. Dkt. No. 102; the “Chap-

ter 11 Trustee Appointment Motion”).5 On April 6, 2022, PAX filed a motion to


3
    Id. at A-177.
4
    Id. at A-178.
5
    Citations to the Trustee’s App. are to Appendix of Appellee Luc A. Despins, as Chapter 11
    Trustee, which is attached as Appendix 1 to this brief.

                                               3
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dismiss the chapter 11 case or, in the alternative, a partial joinder to the Chapter 11

Trustee Appointment Motion with respect to the relief of the appointment of a

chapter 11 trustee. Trustee’s App. A-274 (Bankr. Dkt. No. 183.)

      On June 15, 2022, the Bankruptcy Court entered an order directing the

United States Trustee to appoint a trustee in the Chapter 11 Case. Trustee’s App.

A-320 (Bankr. Dkt. No. 465; the “Trustee Order”). In the Trustee Order, the

Bankruptcy Court highlighted the Trustee’s ability to “use independent judgment

and good management to direct the affairs of the estate to attempt to satisfy the

claims of creditors” and to “optimize recovery for the creditors and the estate” by,

among other things, investigating “the Debtor’s assets, liabilities, and financial af-

fairs.” Trustee’s App. A-337. The Trustee Order instructed the Trustee to perform

“all of the duties set forth in 11 U.S.C. § 1106.” Id.

      On July 7, 2022, the United States Trustee filed the notice of appointment of

Luc A. Despins as the chapter 11 trustee in the Chapter 11 Case and an application

for approval of the appointment of Luc A. Despins pursuant to section 1104(d) of

the Bankruptcy Code. Trustee’s App. A-342 (Bankr. Dkt. No. 515.). On July 8,

2022, the Bankruptcy Court entered an order (the “Appointment Order”) approving

the appointment of Luc A. Despins as the Trustee in the Chapter 11 Case. Trus-

tee’s App. A-363 (Bankr. Dkt. No. 523.)




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II.      Initial Governance Motion

         From the outset of his appointment, the Trustee was concerned that the

Debtor’s demonstrated and extensive history of defying court orders and engaging

in efforts to evade his creditors would create an obstacle to the Trustee’s ability to

effectively fulfill his duties with respect to the management and control of the

Debtor’s assets and affairs. Accordingly, on July 23, 2022, the Trustee filed his

Motion of Chapter 11 Trustee for Entry of Order, Pursuant to Bankruptcy Code

Sections 363, 541, 1108, and 105, (A) Confirming that Chapter 11 Trustee Holds

All of Debtor’s Economic Rights in Debtor-Controlled Entities, (B) Authorizing

Chapter 11 Trustee to Act in Any Foreign Country on Behalf of the Estate, and

Granting Related Relief. Appendix of Appellant (the “Debtor’s App.”) A-1616

(Bankr. Dkt. No. 598; the “Initial Governance Motion”).7 In the motion, the

Trustee sought, among other things, confirmation that (i) the Trustee holds all of

the Debtor’s economic and governance rights and (ii) the Debtor may not interfere

with, hinder, or delay the Trustee’s exercise of those economic and governance

rights with respect to the entities under the Debtor’s control or the Trustee’s

authority as the Debtor’s foreign representative. The Initial Governance Motion



6
      Citations to the Debtor’s App. are to Appellant Ho Wan Kwok’s Appendix [ECF No. 19-1].
7
      The Initial Motion, together with, as applicable, the Initial Revised Proposed Order and the
      Further Revised Proposed Order (each as defined below) shall be referred to as the
      “Governance Motion.”

                                                  5
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explicitly stated that the motion was motivated by, among other things, the need

“to support the Trustee’s investigation, collection, and recovery of other Estate

assets that may be located in foreign jurisdictions.” Debtor’s App. A-162.

       On July 29, 2022, the Debtor filed his response in opposition to the Initial

Governance Motion. Debtor’s App. A-191 (Bankr. Dkt. No. 643.)

III.   UBS Litigation

       One of the Debtor’s significant known assets is, if meritorious, the litigation

claim he has asserted against UBS AG in a litigation pending in the United

Kingdom.8 Specifically, prior to the Petition Date, in September 2020, the Debtor

and two other plaintiffs the Debtor controlled commenced an action against UBS

AG seeking a recovery of approximately $495 million (the “UBS Litigation”). The

Debtor listed the UBS Litigation as an asset of his in his Declaration of Mr. Ho

Wan Kwok in Support of the Chapter 11 case and Certain Motions. Trustee’s App.

A-179–80 (Bankr. Dkt. No. 107; the “Debtor’s Declaration”).

       The Trustee’s responsibility to identify, manage, and safeguard assets of the

estate require that he have the exclusive authority and ability to manage the UBS

Litigation and direct counsel in that litigation. In July 2022, the Trustee therefore

reached out to Harcus Parker Limited (“UK Counsel”), the London-based law firm


8
    See Trustee’s App. A-609, Particulars of Claim, Kwok Ho Wan & Ors v UBS, Cl-2020-
    000345, High Court of Justice of England and Wales Queen’s Bench Division Commercial
    Court.

                                            6
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that had represented the Debtor in the UBS Litigation, requesting access to case

files and information on an informal basis. The Trustee’s efforts in this regard

were not successful.

IV.   Revised Proposed Orders on Governance Motion
      On July 31, 2022, the Trustee submitted a revised proposed order, Debtor’s

App. A-199 (Bankr. Dkt. No. 645; the “Initial Revised Proposed Order”), on the

Initial Governance Motion. Among other things, under the Initial Revised

Proposed Order, the Bankruptcy Court would direct the Debtor to (i) provide the

Trustee with all books, documents, and records relating to all property of the estate

and, (ii) specific to the UBS Litigation, send a letter (the “Turnover Letter”) to UK

Counsel (in the form attached as Exhibit B to the Initial Revised Proposed Order),

directing UK Counsel to turn over to the Trustee all materials relating to the UBS

Litigation, including UK Counsel’s case file.

      At the hearing on August 1, 2022 (the “August 1 Hearing”), the Debtor

objected that he needed additional time to review and object to the Initial Revised

Proposed Order because the Turnover Letter had not been sought in the Initial

Governance Motion. The Trustee did not oppose this request and, critically, the

Bankruptcy Court granted the Debtor’s request, adjourning the matter to August 4,

2022 to give the Debtor additional time to review and object to the proposed order.




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      On August 2, 2022, the Trustee filed a further revised proposed order,

Debtor’s App. A-381 (Bankr. Dkt. No. 671; the “Further Revised Proposed Order,”

and, together with the Initial Revised Proposed Order, the “Revised Proposed

Orders”), with some additional minor changes that had been discussed at the

August 1, 2022 hearing.

      On August 4, 2022, the Debtor filed his substantive objection to Initial

Revised Proposed Order, Debtor’s App. A-418 (Bankr. Dkt. No. 678), and the

Trustee filed his reply, Debtor’s App. A-605 (Bankr. Dkt. No. 679).

V.    Hearing on Governance Motion

      On August 4, 2022, the Bankruptcy Court held a hearing on the Governance

Motion (the “August 4 Hearing”). Much of the Debtor’s focus, both in his

objection and in the comments of his counsel at the hearing, related to the language

in the Initial Revised Proposed Order that would require him to send the Turnover

Letter to UK Counsel. In particular, the Debtor took the position that it was

improper—and a potential violation of United Kingdom privilege law—to compel

the Debtor to send a communication that would result in the “waiver” of the

Debtor’s privileges. Debtor’s App. A-724, 726 (Aug. 4 Hearing Tr. at 10:12-15,

12:16-22).

      Addressing the Debtor’s arguments, the Bankruptcy Court made clear that,

with respect to the Governance Motion, the Trustee was merely stepping into the


                                         8
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shoes of the Debtor’s privilege. See Debtor’s App. A-733 (id. at 19:17-20) (“The

minute the Chapter 11 trustee was appointed, the Chapter 11 trustee steps into the

shoes of Mr. Kwok. So the chapter 11 trustee has the privilege of Mr. Kwok in

[the UBS Litigation]”); Debtor’s App. A-735 (id. at 21:2-4) (“Mr. Despins stepped

into the shoes of the debtor when he became the Chapter 11 Trustee. There’s well

settled case law on that, Attorney Henzy.”); Debtor’s App. A-787 (id. at 73:20-22,

24-25) (“[A]s soon as the order appointing the trustee was approved, …

Mr. Despins became Mr. Kwok. … Mr. Despins has stepped into all of those

rights.”). Therefore, waiver of privilege was not at issue. As the Bankruptcy

Court explained, “the letter doesn’t say that [the Debtor] is waiving his privilege.

In fact, it says that any waiver of the privilege is limited to the provision of this

information to the trustee. That’s what it says.” Debtor’s App. A-724 (Id.

at 10:17-20).

      The record from the August 4 Hearing also reflects that the Trustee did not

prepare the Turnover Letter in isolation but, rather, worked closely with UK

Counsel. See Debtor’s App. A-721 (id. at 7:16-24) (“There were a lot of back and

forth between me and counsel … for the [D]ebtor in that UBS action. … And at the

end of the day, I said, look, why don’t you just draft a letter that you would be

comfortable receiving from Mr. Kwok that would allow you to … give me an

update on the merits of the claims. … And eventually [UK Counsel] did that.”);


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Debtor’s App. A-722 (id. at 8:8-11) (“And so we took her letter with some minor

changes and basically that’s the letter that we’re now asking the [Bankruptcy]

Court to direct the [D]ebtor to send to her that basically says give [the Trustee] full

access [to the UBS Litigation case file].”); Debtor’s App. A-727 (id. at 13:7-11)

(“And that letter basically, that she marked up, says that if she gets the letter she

will … give me the privileged information. As to what? As to the merits of the

litigation.”).9

VI.    Order Granting Governance Motion

       On August 10, 2022, the Bankruptcy Court overruled the Debtor’s objection

and issued the Governance Order granting the Governance Motion. The

Governance Order provides broad confirmation of the Trustee’s ownership of and

authority over the Debtor’s economic and corporate governance rights. It also

directed the Debtor to “surrender to the Trustee all property of the estate and any




9
    In the interest of full disclosure, even though the Turnover Letter was prepared in close coor-
    dination with UK Counsel, UK Counsel informed the Trustee after the August 4 Hearing that
    “[i]f any waiver of Mr Kwok’s privilege is ordered, that does not mean that such a letter will
    have effect under English law.” Trustee’s App. A-654 (August 5, 2022 email from the Chap-
    ter 11 Trustee to the Chambers of the Hon. Julie A. Manning regarding further revised pro-
    posed order). To be clear, and as explained below, the Trustee is not seeking to waive any
    privilege that the Debtor may hold, and is seeking only access to relevant information held by
    UK Counsel relating to the UBS Litigation. In any event, UK Counsel’s position was per-
    plexing, to say the least, as the Trustee had made clear to UK Counsel that he would be seek-
    ing court approval of the Turnover Letter over the objection of the Debtor. The Trustee ad-
    vised the Bankruptcy Court of these developments by email, dated August 5, 2022, i.e., be-
    fore the Bankruptcy Court entered the Governance Order on August 10, 2022. Id.

                                                10
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recorded information, including, without limitation, books, documents, records,

and papers relating to property of the estate.” Debtor’s App. A-137.

      Additionally, paragraph 3(b) of the Governance Order instructed the Debtor

to deliver to UK Counsel the Turnover Letter. The Turnover Letter approved by the

Bankruptcy Court, and attached as Exhibit B to the Governance Order, provided the

following:

             In furtherance of the foregoing, and for the avoidance of doubt,
             I hereby expressly authorize you to have full and complete
             discussions on my behalf with Mr. Despins regarding the UBS
             Litigation, the merits thereof, any related settlement
             discussions, and any other topics related to the prosecution of
             the UBS Litigation and to take instructions from him in relation
             to my claim in the UBS Litigation regardless of any attorney-
             client privilege, work product, or other privilege which belongs
             to me. Any waiver of privilege is limited to the provision of
             this information to the Trustee. My consent is limited to giving
             access to the Trustee to the extent that I am entitled and
             contains no wider waiver of privilege and is not consent by me
             to the Trustee to waive my privilege.

(Debtor’s App. A-157 (emphasis added).)

VII. Privileges Motion and Privileges Order

      On August 22, 2022, the Trustee filed a Motion for Entry of Order

(A) Providing that Control of any Attorney-Client Privilege, Work Product

Protection, and Other Privileges Related to Rule 2004 Subpoenaed Documents

Passed to Trustee Upon Appointment, (B) Directing that the Debtor and Other

Examinees Not Withhold Documents on Account of Such Privileges, and


                                        11
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(C) Granting Related Relief. Trustee’s App. A-552 (Bankr. Dkt. No. 777; the

“Privileges Motion”). The Privileges Motion requested that the Bankruptcy Court

enter an order confirming that, upon the Trustee’s appointment, control over any

attorney-client privilege, work product protection, and other privileges relating to

the assets, liabilities, financial status or administration of the estate passed to the

Trustee. The motion further sought confirmation that neither the Debtor nor any

subpoena recipient may assert any such privilege or attempt to assert any such

privilege controlled by the Trustee to justify withholding any documents

responsive to the Trustee’s requests for discovery under Bankruptcy Rule 2004.

        On September 14, 2022, the Bankruptcy Court issued a consent order in

connection with the Privileges Motion. Trustee’s App. A-647 (Bankr. Dkt. No.

856; the “Privileges Order”). The Privileges Order confirmed that “[t]he Trustee

has exclusive control of any attorney-client privilege or work product protection

that could otherwise be asserted by the Debtor or his counsel under any applicable

law (including, without limitation, any interests of the Debtor in any common

interest or joint defense privilege alleged to be held with other parties) …

concerning (i) assets (including actual or potential causes of action) that (A) are or

were held by the Debtor. …” Trustee’s App. A-648.10


10
     The Privileges Order also specifies that “[n]othing herein shall be construed to impact, one
     way or another, the Debtor or the Debtor’s counsel’s rights, whatever they may be, to assert
                                                                              (Cont’d on next page)
                                                12
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VIII. Motion for Stay Pending Appeal

      On August 17, 2022, the Debtor filed a motion for a stay pending appeal of

paragraph 3(b) of the Governance Order. Trustee’s App. A-368 (Bankr. Dkt. No.

761.) The Trustee filed his objection on August 26, 2022. Trustee’s App. A-582

(Bankr. Dkt. No. 796.) The Bankruptcy Court took the matter under advisement

after a hearing on August 30, 2022, and has not yet issued a ruling.

                           SUMMARY OF ARGUMENT
      The Debtor argues that the Bankruptcy Court erred in granting the Turnover

Relief because the Trustee had not (according to the Debtor) filed a motion seeking

the relief ordered in those provisions. This argument is without merit.

      The Debtor’s opening brief focuses on the permissibility and sufficiency of

oral motions. However, this ignores that the Governance Order, including the

Turnover Relief, granted the Governance Motion, which was a written, not oral,

motion. The Governance Motion explained that it was filed to (among other

things) aid in the Trustee’s statutory obligation to investigate, collect, and recover

estate assets that may be located in a foreign jurisdiction. Because the UBS

Litigation is a specific (and potentially valuable) example of exactly the type of




   whatever privileges the Debtor may have under the laws of the United Kingdom in the
   litigation styled Kwok Ho Wan v. UBS AG, Claim No. CL-2020-000345 (High Court of
   Justice Business and Property Courts of England and Wales Commercial Court).” Trustee’s
   App. A-652.

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asset discussed in the Governance Motion,11 the relief granted in paragraph 3(b)

and Exhibit B of the Governance Order is, therefore, directly related to the relief

sought in the written Governance Motion, and, therefore, was subsumed in such

requested relief.

        In any event, the Debtor is incorrect because even if the Turnover Relief was

insufficiently related to the Governance Motion, this relief was discussed

extensively at the August 1 Hearing and the August 4 Hearing, both of which were

recorded. As such, an oral motion requesting such relief would be permissible, and

it would be well within the Bankruptcy Court’s discretion to grant this relief.

        Furthermore, the Turnover Relief granting paragraph 3(b) and Exhibit B of

the Governance Order was not prejudicial to the Debtor, as the Debtor requested—

and was granted—three additional days to review and object to the relief. The

Debtor utilized that time to file an objection and raise new arguments in opposition

to the Revised Proposed Orders. Any suggestion that Debtor was prejudiced by the

Revised Proposed Orders is spurious and should be rejected.

        Also wrong is the Debtor’s argument that the Bankruptcy Court erred in

directing the Debtor to deliver the Turnover Letter because (the Debtor asserts) the



11
     That the claim underlying the UBS Litigation is an estate asset now belonging to the Trustee
     is undisputed. Notably, the Debtor included the UBS Litigation claim in the “My Assets”
     section of his declaration in support of the Chapter 11 Case. See Trustee’s App. A-179–80, ¶
     32(a).

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privileges relating to the documents subject to the Turnover Letter belong to the

Debtor and the turnover of such documents would violate English law. It is clear

under U.S. law that any such privileges belong to, and are controlled by, the

Trustee. Equally clear is that the Trustee is allowed, under English law, to review

the Debtor’s privileged documents and communications associated with the UBS

Litigation in order to prosecute the litigation, so long as the Trustee does not have

the ability to waive the privilege—and, to reiterate, the Turnover Letter explicitly

provides that the Debtor is not consenting to any such waiver. The Trustee has

never sought to waive privilege in these documents—he simply wishes to review

and consider them to understand the nature and merits of the UBS Litigation, as is

his right (and obligation) under both U.S. and English law. The Turnover Letter,

therefore, does nothing more than remind the Debtor that he has no right to

affirmatively prevent the Trustee from reviewing these documents, and in

objecting to the Turnover Letter, the Debtor is really claiming the right to interfere

with the Trustee’s fulfillment of his statutory obligations under the Bankruptcy

Code. For all these reasons, the Court should affirm the Governance Order.

                                   ARGUMENT
I.    Relief Granted in Governance Order Aligns With, and Was Subsumed
      in, Relief Sought in Governance Motion and Did Not Prejudice Debtor

      The Debtor’s Opening Brief asserts that the Turnover Relief “is well outside

the limits of and not related or connected to what is asked for in the [Governance]

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Motion,” and that the “Trustee did not state with particularity, or state at all, his

asserted legal or factual basis for the [Turnover Relief], and he did not give the

[Debtor] fair notice.” (Opening Brief at 20.) It is telling that the Debtor asserts

that the Trustee failed to state the grounds for the requested relief with

“particularity,” yet fails to cite any of the extensive case law discussing the

controlling standard for a movant’s obligation to do so. The explanation for this

failure, however, is clear: the Governance Motion clearly does satisfy Rule 7(b)’s

particularity requirement as applied to the Turnover Relief.

      Rule 9013 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) provides that “[a] request for an order … shall be by written motion, unless

made during a hearing,” and that the “motion shall state with particularity the

grounds therefor, and shall set forth the relief or order sought.” This “particularity”

requirement parallels Federal Rule of Civil Procedure 7(b), which directs that a

motion “state with particularity the grounds for seeking the order.”

      The “particularity requirement [of Rule 7(b) and of Bankruptcy Rule 9013]

is flexible and has been interpreted liberally by the courts.” Feldberg v. Quechee

Lakes Corp., 463 F.3d 195, 197 (2d Cir. 2006) (quoting Moore’s Federal Practice

- Civil § 7.03 (3d ed. 2006)). This “particularity” requirement “is meant to give

notice [] to the court and the opposing party and to provide the opposing party an

opportunity to respond.” In re Salvatore, 586 B.R. 371, 375-76 (Bankr. D.


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Conn. 2018) (citing Quechee Lakes and ruling that motion to dismiss that was

“lacking information in certain respects” nonetheless provided opposing party

“with notice of the claims asserted in the Motion to Dismiss”).

      The particularity requirement “should not be applied in an overly technical

fashion when the purpose behind the rule is not jeopardized.” Hinz v.

Neuroscience, Inc., 538 F.3d 979, 983 (8th Cir. 2008) (citation omitted). Courts

applying Rule 7(b) “generally consider whether any party has been prejudiced by

the movant’s lack of particularity and whether the court can comprehend the basis

of the motion and deal with it fairly.’” Yates v. Delano Retail Partners, LLC,

No. C 10-3073 CW, 2012 WL 2563850, at *2 (N.D. Cal. June 28, 2012) (citing 5

Wright & Miller, Federal Practice and Procedure § 1192.). “Motions worded

very generally have been found sufficiently particular when the opposing party had

notice of the specific basis for the motion.” Id. (citing 2 James Wm. Moore,

Moore’s Federal Practice § 7.03[4][a].).

      The Debtor complains that the Bankruptcy Court could not have granted the

Turnover Relief. Contrary to the Debtor’s arguments, however, the Turnover

Relief was directly connected to the Governance Motion, which explicitly sought

“to support the Trustee’s investigation, collection, and recovery of other Estate

assets that may be located in foreign jurisdictions.” Debtor’s App. A-162. Such

assets located in foreign jurisdictions include claims brought by the Debtor, such as


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the UBS Litigation, which indisputably is now under the Trustee’s control.12 In

light of the language included in the Governance Motion, there can be no serious

argument that the Debtor did not have notice that the Trustee was seeking control

over the UBS Litigation, or that the Bankruptcy Court did not have sufficient

information to deal fairly with the Initial Motion as applied to the UBS Litigation.

         Indeed, the Governance Order itself demonstrates the connection between

the Governance Motion and the Turnover Relief. The Turnover Relief is embodied

in paragraph 3(b) of the Governance Order. The earlier provisions of that same

paragraph direct the Debtor to “surrender to the Trustee all property of the estate

and any recorded information, including, without limitation, books, documents,

records, and papers relating to property of the estate.” Debtor’s App. A-203. The

UBS Litigation, is property of the estate, and “documents, records, and papers”

related to the UBS Litigation are documents, records, and papers “relating to

property of the estate.” Id. The Turnover Relief is nothing more, and nothing less,

than a specific application of that provision—a provision the Debtor does not

contest.

         Nor can it plausibly be argued that any alleged Rule 7(b) deficiency in the

Governance Motion (of which there was none) prejudiced the Debtor. Not only



12
     See Trustee’s App. A-179–80, Debtor’s Declaration ¶ 32(a) (listing the UBS Litigation claim in the “My As-
     sets” section).

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was the motion itself, as originally filed, sufficient notice, the Bankruptcy Court

inarguably cured any alleged lack of particularly by giving the Debtor three

additional days to respond to the specific application of the Governance Motion to

control of the UBS Litigation and the Trustee’s related request that the Bankruptcy

Court direct the Debtor send the Turnover Letter to UK Counsel. Moreover, the

Turnover Letter was not a surprise to the Debtor (or to UK Counsel).

      Especially in light of the flexible standard and liberal interpretation of

Rule 7(b), these facts demonstrate that the Bankruptcy Court was well within its

discretion to grant the Turnover Relief embodied in paragraph 3(b) and Exhibit B of

the Governance Order.

II.   Alternatively, Bankruptcy Court Had Discretion to Grant Governance
      Order as Ruling on Oral Motion at a Recorded Hearing

      Alternatively, even if the Turnover Relief was not related to the Governance

Motion (it was), because all discussions relating to the Governance Motion took

place during recorded proceedings, an oral motion for such relief would be

permissible. Bankruptcy Rule 9013 expressly permits oral motions, so long as the

proceeding in which such motions are made is recorded. See Fed. R. Bank.

Proc. 9013 (“A request for an order … shall be by written motion, unless made

during a hearing.”); see also United States v. Vulpis, 961 F.2d 368, 371

(2d Cir. 1992) (“Fed. R. Civ. P. 7(b)(1) expressly contemplates that a motion may

be made orally during a hearing.”).

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      While the Debtor’s Opening Brief cites (older or out-of-circuit) cases on the

limitations of oral motions, these cases are inapposite. The Debtor relies on cases

that (i) limited oral motions to motions incidental to the hearing (such as motions

to exclude or strike evidence) or (ii) did not allow oral motions entirely unrelated

to the matter on hand at the scheduled hearing. However, this ignores that an oral

motion that is related to the matter on hand is permissible even if it is a substantive,

and dispositive, motion.

      The decision In re Sandra Cotton, Inc., 99 B.R. 197, 199 (W.D.N.Y. 1989),

aff’d sub nom. Bank of New York v. Cotton, 909 F.2d 1474 (2d Cir. 1990)

(“Cotton”) is instructive. In that case, the appellants argued “the oral motion for

judgment on the pleadings made the day of trial deprived them of the requisite

written notice of such motion.” Cotton, 99 B.R. at 199. Rejecting that argument,

the court explained that “[o]ral motions are not precluded by the Federal Rules of

Civil Procedure as long as they are made at a hearing where the proceedings are

recorded. This Court finds that the making of and the entertaining of the oral

motion made on behalf of the Bank was neither improper nor an abuse of Judge

Creahan’s discretion.” Id. (internal citations omitted).

      The relevant criterion in the Second Circuit is whether parties were properly

on notice of the relief requested in the oral motion, a factor determined by the

connection between the oral motion and the hearing in which is was raised. See


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Cotton, 99 B.R. at 199 (“The surprise claimed by the appellants is not convincing

inasmuch as they had appeared in Bankruptcy Court June 23, 1986 prepared to go

to trial on the issue of the granting of a permanent injunction. Clearly they cannot

claim that they were ready for trial, on the one hand, and then claim that they were

surprised and unprepared for a motion for judgment on the pleadings, on the other

hand.”).

      Here, the Turnover Relief is, at the very least, related to the issues raised in

the Governance Motion: as discussed above, it is simply an application of the general

turnover, corporate governance, and control of estate assets (including, specifically,

foreign assets) sought in that motion. As such, the Debtor was, or should have been,

prepared to discuss any estate asset that, according to the Debtor, should not be

subject to the Trustee’s control.

      Thus, it would have been within the Bankruptcy Court’s discretion to grant

the Turnover Relief at the original hearing, i.e., the August 1 Hearing. And it

certainly was not an abuse of the Bankruptcy Court’s discretion to grant the Debtor

an additional three days and to hold—at the Debtor’s request—an additional

hearing before issuing the Governance Order. Indeed, at the August 4 Hearing,

counsel for the Debtor not only raised extensive arguments in connection with the

Revised Proposed Orders, but in doing so pointed the Bankruptcy Court to both

case law he had already included for this purpose in his objection and to two new


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cases he prepared for the hearing and wished to bring to the Bankruptcy Court’s

attention. Debtor’s App. A-729–730 (Aug. 4 Hearing Tr. at 15:3-16:20.) Thus, the

Debtor was in no way prejudiced by the Revised Proposed Orders (which in any

event fully relate to the Governance Motion).

III.   Bankruptcy Court Did Not Err in Directing Debtor to Deliver Turnover
       Letter, as Trustee Controls Privileges in UBS Litigation under U.S. and
       English Law

       The Bankruptcy Court did not err in granting the Turnover Relief, as the

Trustee owns and controls privileges in the UBS Litigation under U.S. law. Nor

was this relief erroneous under English law, under which the Trustee is entitled to

review the documents subject to the Turnover Letter—and which, certainly, does

not entitle the Debtor to prevent the Trustee from fulfilling his statutory duties by

blocking the Trustee’s review of the documents relevant to the UBS Litigation.

       A.    U.S Law Grants Trustee Control of Attorney-Client Privilege in UBS
             Litigation
       The Debtor’s Opening Brief focuses, in detail, on the Debtor’s contention

that he cannot be “compelled to waive privilege.” Opening Brief at 26. The

Debtor further asserts “federal courts in this country may not compel disclosure of

attorney-client privileged communications absent a knowing and informed

waiver.” Id. at 22. The Debtor concludes by arguing that the Bankruptcy Code

does not create “an exception to the general principles protecting applicable



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privileges,” and that section 521 of the Bankruptcy Code does not compel a waiver

of the debtor’s privilege. Id. at 24-26.

      These arguments demonstrate that the Debtor wholly misunderstands

privilege law as applicable to a trustee in a chapter 11 case. Control of a privilege

is wholly different from waiver of a privilege. As described in detail in the

Privileges Motion, and confirmed in the Privileges Order, to the extent it relates to

assets and liabilities of the estate, the Debtor’s financial conditions, and

administration of the estate, control of the attorney-client privilege passes to a

chapter 11 trustee upon his appointment. The Debtor’s focus on “waiver” and his

complaints that he is being “compelled to waive [his] privilege,” id., are, therefore,

irrelevant. As a matter of U.S. law, the Trustee is now the owner of any privileges

in connection with the UBS Litigation, so there would be no waiver at all. Rather,

the communications and privileges belong to the Trustee, as it is undisputed that

the Trustee is now the owner of the Debtor’s claims in that litigation.

      The controlling law in this regard is the Supreme Court’s decision in

Commodity Futures Trading Comm’n v. Weintraub, 471 U.S. 343 (1985)

(“Weintraub”). Weintraub addressed whether, upon appointment of a trustee,

control of a corporation’s attorney-client privilege passes to the trustee, or remains

with the debtor’s management. The Supreme Court held that the trustee steps into

the shoes of the corporate debtor for the purposes of controlling attorney-client


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privilege just as the trustee does for management of the corporate debtor more

generally. See id. at 353–54. In reaching this decision, the Supreme Court made

clear that the issue was whether control of the privilege passes to a trustee in

bankruptcy—not whether the trustee gains access to privileged documents or

communications through an exception to, or waiver of, the privilege.

      Although Weintraub dealt specifically with corporate debtors, a number of

lower courts have since addressed whether the privilege also passes to the trustee

in an individual debtor case. A significant majority of the courts addressing this

question have employed a “balancing test” that considers whether the privilege at

issue relates most closely to a trustee’s rights, obligations and allocation of

responsibility under the Bankruptcy Code, or whether the privilege primarily

concerns the debtor’s interests as an individual. See, e.g., In re Bame, 251

B.R. 367, 375 (Bankr. D. Minn. 2000) (characterizing the test of whether

“individual debtor’s attorney-client privilege as to prepetition communications

does transfer to the trustee” as turning on “when on balance the trustee’s duties to

maximize the value of the estate outweigh the policies underlying the attorney-

client privilege and the harm to the debtor of disclosure.”); In re Foster, 188

F.3d 1259, 1267 (10th Cir. 1999) (remanding decision back to bankruptcy court to

apply balancing test). Therefore, any concern by the Debtor that any privilege is




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being waived or regarding ‘compelled disclosure’ is inapposite because, no

privilege is waived when control of the privilege passes to the Trustee.

      Courts applying the balancing test routinely find the trustee controls the

privilege with regard to documents that relate to assets of the estate, its financial

status or to the administration of the estate. See, e.g., In re Bazemore, 216 B.R.

1020, 1024 (Bankr. S.D. Ga. 1998) (finding that trustee controlled, and held right

to waive, attorney client privilege where it sought documents to determine if estate

held cause of action); Bame, 251 B.R. at 377 (finding in favor of trustee’s request

to control privilege of individual debtor when seeking discovery of documents in

order to recover assets); In re Horvath, No. 13-34137, 2015 WL 2195060, at *6

(Bankr. N.D. Ohio May 7, 2015) (discovery related to claims on schedule of assets

permissible from individual debtor because trustee sought to potentially increase

value of debtor’s estate, and finding that “the Trustee is entitled to waive Debtor’s

attorney-client privilege” and holding that “the sole purpose of the Trustee’s

inquiry is to augment her ability to administer the estate with respect to those

assets and to potentially increase the value of Debtor’s estate to his creditors”).

      Application of the balancing test to the UBS Litigation weighs heavily in favor

of control of the privilege passing to the Trustee. The UBS Litigation could, if

meritorious, represent a substantial potential asset of the Debtor’s estate, claiming

damages of approximately $495 million dollars. As such, to effectively fulfill his


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obligations under the Bankruptcy Code to maximize this asset for the benefit of the

estate and its creditors, the Trustee must be provided access to relevant information

held by UK Counsel relating to the UBS Litigation. Indeed, it would mean nothing

for the Trustee to “own” the claims in the litigation if information he needs to

manage and direct counsel in that litigation is withheld from him.

        The Debtor’s arguments fail at the threshold because they are premised on

the assumption that the Debtor continues to control the privilege, and the Debtor

does not attempt to argue otherwise. Indeed, the Debtor’s Opening Brief cites

Weintraub only in passing in a string cite, and makes no reference to the balancing

test developed by courts applying Weintraub.13 Opening Brief at 25. The Debtor

has provided no basis to disturb the Bankruptcy Court’s ruling—consistent with

well-settled and non-controversial law—that control of any privileges relating to




13
     The balancing test considers whether the debtor’s personal interests, such as exposure to
     criminal liability, are sufficient to justify the debtor’s continued control of the privilege.
     While the Debtor does not discuss the balancing test, those factors also weigh in favor of
     control of the privilege passing to the Trustee, as there is no reason to believe that any
     privileged information in the possession of UK Counsel relates to the Debtor as an individual
     or could harm his individual interest. First, the UBS Litigation concerns a claim brought by
     the Debtor that UBS provided him with faulty investment advice. This is not a subject
     matter implicating the types of concerns that courts have considered as a basis for not
     transferring control of privileges to a trustee. If the Debtor had concerns that his claims in
     the UBS Litigation create criminal exposure for him (he has professed no such concerns), it
     is implausible that he would have volunteered to make such issues public by filing a lawsuit.
     Second, and most tellingly, nowhere does the Debtor explain, even in the broadest of terms,
     what allegedly privileged materials in the UBS Litigation could result in personal harm if
     disclosed.

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the UBS Litigation has passed to the Trustee. This Court should, therefore,

confirm the Bankruptcy Court’s ruling.

        B.      Turnover Letter Does Not Waive Privilege and is Consistent with
                English Law

        The Debtor next argues that, in addition to his (incorrect) assertions

regarding U.S. law and privilege in a bankruptcy case, the Turnover Relief should

be overturned because it “forc[es] the Debtor to waive any privileges that he may

still possess under U.K. law.” Opening Brief at 27. The Turnover Letter does no

such thing. To the contrary, and entirely consistent with English law, the Turnover

Letter preserves any privilege the Debtor may retain under English law, and

ensures that the Trustee will do the same. The only effect of the Turnover Letter is

to ensure that the Trustee himself is able to review the applicable documents, as is

his right (and obligation) under both U.S. and English law.14

        The Turnover Letter states, in relevant part:

                I hereby expressly authorize you to have full and complete
                discussions on my behalf with Mr. Despins regarding the
                UBS Litigation, the merits thereof, any related settlement
                discussions, and any other topics related to the prosecution of
                the UBS Litigation and to take instructions from him in
                relation to my claim in the UBS Litigation regardless of any
                attorney-client privilege, work-product, or other privilege
14
     Because the Turnover Letter does nothing more than ensure that the Trustee can review the
     UBS Litigation documents, any possible distinction between U.S. and U.K. law, in which
     English law (as discussed below) allows the Trustee to review privileged documents, while
     U.S. law (pursuant to Weintraub) goes farther and transfers control of the privilege, has no
     bearing on the instant appeal. That being said, and as demonstrated above, the Debtor is also
     wrong in his assertions that, under U.S. law, he continues to control the privilege.

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                which belongs to me. Any waiver of privilege is limited to
                the provision of this information to the Trustee. My consent
                is limited to giving access to the Trustee to the extent that I
                am entitled and contains no wider waiver of privilege and is
                not consent by me to the Trustee to waive my privilege.15
Debtor’s App. A-157 (emphasis added). Nowhere does the letter state that

providing the information to the Trustee would constitute the Debtor’s waiver of

his privileges. The Debtor nevertheless leverages his dubious assertion that a

“waiver” is occurring to claim that the Governance Order forces the Debtor to

waive privileges he possesses under English law. Even assuming for the sake of

argument that the Debtor continues to own a privilege, he is wrong about the law.

The Turnover Letter, which, as noted above, was prepared in coordination with UK

Counsel, is fully consistent with English law.

        Under English law, the Trustee is obligated to take possession of all of the

Debtor’s books, papers and records, specifically including privileged documents,

which will include communications associated with the UBS Litigation, although

the Trustee does not have the ability to waive the privilege. See Debtor’s App. A-

506 (Avonwick Holdings Limited v. Shlosberg, [2016] EWCA (Civ) 1138, ¶¶ 69-71

(Court of Appeal, Civil Division, 2016)) (holding that it was necessarily implicit in

section 311 (1) of the Insolvency Act 1986 that a trustee can take possession of



15
     Notably, the letter does not assume that the Debtor owns any privileges, nor that he has any
     commensurate right to waive them.

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privileged records relating to the bankrupt’s estate or affairs for the overriding

function of investigation of the bankrupt’s affairs and distributing potential assets

to the bankrupt’s estate, as long as the trustee’s use of the privileged documents did

not amount to a waiver of privilege as to any third parties); see also Debtor’s App.

A-545 (Leeds v. Lemos, [2017] EWHC 1825 (Ch), ¶ 260 (Chancery Division,

2017)) (“There can be no dispute that the trustees are entitled to see the privileged

information and use it for the purpose of carrying out their statutory functions,

provided, as the Court of Appeal has held in Avonwick, that they do not waive legal

professional privilege without the bankrupt’s consent.”). Notably, these cases do

not require consent of the Debtor before the Trustee may review any privileged

information.

      Moreover, in Avonwick, the bankruptcy trustees sought to waive the debtor’s

privilege for the benefit of Avonwick, a third party, and largest creditor of the

debtor’s estate, in a conspiracy proceeding that Avonwick brought against multiple

defendants including the debtor. See Avonwick ¶¶ 3, 21. Similarly, in Leeds, the

trustees sought to waive the debtor’s privilege in a third party action brought to set

aside certain transactions that the debtor entered into prior to bankruptcy. See

Leeds ¶¶ 10, 16, 27, 36. Here, the Trustee is not seeking to waive any privilege for

the benefit of any third party. The Trustee has made this representation before and




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reaffirms it here. Instead, the Trustee would be reviewing the relevant information

solely to control and direct the UBS Litigation.

      Given that the Turnover Letter explicitly states that the Debtor is not

consenting to the Trustee’s waiver of his privilege—and the Trustee is not

claiming the Turnover Letter gives him the ability to do so—any argument that

English law prohibits a bankruptcy trustee from waiving a debtor’s privilege is of

no moment. See Debtor’s App. A-157 (Governance Order, Exhibit B.)

      The Debtor’s Opening Brief ignores all this and contains no actual analysis

of English law. The Debtor, instead, asserts only that “[p]rivilege issues connected

to [the UBS Litigation] should be determined by the U.K. Court under U.K. law.”

Opening Brief at 27. However, U.S. courts frequently decide issues of foreign law.

Indeed, the “ability of U.S. courts to apply foreign law is especially relevant to

U.K. law, which is generally amenable to interpretation by a U.S. court.” In re

Hellas Telecomms. (Luxembourg) II SCA, 555 B.R. 323, 350 (Bankr.

S.D.N.Y. 2016) (citation omitted); Kim v. Co-op. Centrale Raiffeisen-

Boerenleenbank, 364 F. Supp. 2d 346, 349 (S.D.N.Y. 2005) (“Pursuant to Federal

Rule of Civil Procedure 44.1, it is the Court’s function to determine foreign law,

and the Court is given wide latitude in making that determination”); Shipping

Corp. of India, Ltd. v. Am. Bureau of Shipping, 603 F. Supp. 801, 806

(S.D.N.Y. 1985) (“The courts of this country are capable of applying foreign law


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whenever necessary.”).16 In any event, this Debtor is before the Connecticut

Bankruptcy Court in his voluntary Chapter 11 Case and that court can direct the

conduct of the debtor with respect to his assets and property regardless of “whether

that property is located in the United States or a foreign jurisdiction.” In re

Arcapita Bank B.S.C.(c), 575 B.R. 229, 250–51 (Bankr. S.D.N.Y. 2017), aff'd sub

nom. In re Arcapita Bank B.S.C.(C), 640 B.R. 604 (S.D.N.Y. 2022). See 28

U.S.C.A. § 1334(e) (“The district court in which a case under title 11 is

commenced or is pending shall have exclusive jurisdiction-- (1) of all the property,

wherever located, of the debtor as of the commencement of such case, and of

property of the estate”) (emphasis added); 11 U.S.C.A. § 541 (West) (“a debtor’s]


16
     The Debtor also did not mention that, on October 21, 2022, the Trustee filed an application
     (the “Recognition Application”) requesting in the High Court of Justice, Business and Prop-
     erty Courts of England and Wales, Insolvency and Companies Court (ChD) (the “UK Court”)
     entry of an order that would, among other things, (a) recognize the Chapter 11 Case as a for-
     eign main proceeding, (b) declare that all powers normally available to a trustee in bank-
     ruptcy under English law be made available to the Trustee, and (c) direct UK Counsel to de-
     liver all documents in its possession related to the UBS Litigation to the Trustee. Trustee’s
     App. A-657-59. Even though the Recognition Application seeks, among other things, docu-
     ments from Harcus Parker related to the UBS Litigation, this does not change the analysis as
     to whether the Bankruptcy Court can also require the Debtor to send the Turnover Letter to
     UK counsel. One of the co-plaintiffs in the UBS Litigation (Ace Decade Holdings Limited),
     which is beneficially owned by the Debtor (see Bankr. Dkt. No. 1110), has objected to the
     relief in the Recognition Application to the extent that it would require UK Counsel to turn
     over documents over which it asserts joint privilege with the Debtor. Whatever the rights of
     Ace Decade Holdings Limited may be in this regard is a matter for the UK Court, and, to be
     clear, the Trustee is not seeking a ruling from the Bankruptcy Court or this Court as to the
     rights of Ace Decade Holdings Limited. As part of the Recognition Application, the Trustee
     also undertook to the UK Court that he would not seek to waive any privilege in any docu-
     ment disclosed to him by virtue of the Recognition Application without first applying to the
     English Court to do so (and would not circumvent this undertaking by seeking an order from
     a U.S. Court in that regard). As of the time of filing of this brief, the UK Court has not yet
     issued a ruling on the Recognition Application.

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estate is comprised of all the following property, wherever located and by

whomever held . . . .”); see also In re Ampal-Am. Israel Corp., 562 B.R. 601, 610

(Bankr. S.D.N.Y. 2017) (citing section 541 and 1334 in support of proposition that

“the term ‘property of the estate’ includes property ‘wherever located, and by

whomever held’ that was property of the debtor at the commencement of the case,”

and concluding “[t]hus ‘property of the estate’ extends to property located

worldwide”).

               STATEMENT REGARDING ORAL ARGUMENT

      The Trustee respectfully requests that the Court schedule oral argument on

this appeal.



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                                   CONCLUSION

        The Trustee respectfully requests that the Court reject the Debtor’s appeal

and affirm the Bankruptcy Court’s Governance Order, including, specifically,

paragraph 3(b) and Exhibit B thereto.



Dated: January 12, 2023

Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

        1.   This brief complies with the page limit of Federal Rule of Bankruptcy

Procedure 8015(a)(7)(B)(i) because, excluding the parts of the brief exempted by

Federal Rule of Bankruptcy Procedure 8015(g), this brief contains 8,190 words.

        2.   This brief complies with the typeface requirements of Federal Rule of

Bankruptcy Procedure 8015(a)(5) and the type-style requirements of Federal Rule

of Bankruptcy Procedure 8015(a)(6) because this brief has been prepared in a pro-

portionally spaced typeface using Microsoft Word in size 14 Times New Roman

font.



Dated: January 12, 2023                      /s/ Patrick R. Linsey
                                             Patrick R. Linsey

                                             Counsel for the Trustee




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                         CERTIFICATION OF SERVICE

      I hereby certify that on January 12, 2023, a copy of the foregoing Brief of

the Appellee Trustee and the appendix thereto was filed electronically. Notice of

this filing will be sent by e-mail to all parties by operation of the Court’s electronic

filing system or by mail to anyone unable to accept electronic filing as indicated on

the Notice of Electronic Filing. Parties may access this filing through the Court’s

CM/ECF System.

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                                               Counsel for the Trustee




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